                                          Case 4:22-cv-01687-HSG Document 29 Filed 06/24/22 Page 1 of 4




                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                                                                ,           Case No.                  -HSG
                                   4
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION
                                                   v.                                       OF ATTORNEY PRO HAC VICE;
                                   6
                                                                                            ORDER
                                   7                                            ,           (CIVIL LOCAL RULE 11-3)
                                                        Defendant(s).
                                   8

                                   9

                                  10          I,                              , an active member in good standing of the bar of

                                  11                                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:                                    in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is                                   , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-

                                  16

                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL S ADDRESS OF RECORD

                                  18
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL S TELEPHONE # OF RECORD
                                  19

                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is:                      .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26          I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 4:22-cv-01687-HSG Document 29 Filed 06/24/22 Page 2 of 4




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated:
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                   ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of                                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:            6/24/2022

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT JUDGE
                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                       Updated 11/2021                                   2
   Case 4:22-cv-01687-HSG Document 29 Filed 06/24/22 Page 3 of 4




           Appellate Division of the Supreme Court
                   of the State of New York
                  First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                    Jonathan David Ball
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on April 10, 2003,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                          In Witness Whereof, I have hereunto set
                          my hand in the City of New York on
                          June 17, 2022.




                                     Clerk of the Court




CertID-00071443
    Case 4:22-cv-01687-HSG Document 29 Filed 06/24/22 Page 4 of 4


                   Supreme Court of the State of New York
                    Appellate Division, First Department
                                             ROLANDO T. ACOSTA
                                                PRESIDING JUSTICE
 SUSANNA MOLINA ROJAS                                                                  MARGARET SOWAH
      CLERK OF THE COURT                                                               DEPUTY CLERK OF THE COURT




To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                            Susanna Rojas
                                                            Clerk of the Court




Revised October 2020



                           27 MADISON AVENUE     NEW YORK, NEW YORK 10010-2201
                      TEL.: (212) 340 0400    INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
